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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                    www.flmb.uscourts.gov

In re:                                                   Case No.: 6:20-bk-3355-KSJ
                                                         Chapter 11
First Choice Healthcare Solutions, Inc. et, al.1
                                                         (Jointly Administered)
     Debtors.
___________________________________/

                                        NOTICE OF HEARING

          PLEASE TAKE NOTICE that a preliminary hearing has been scheduled for November

15, 2021 at 2:00 p.m. before Honorable Karen S. Jennemann to consider the following:

                 Esther McKean And Akerman LLP’s Motion To Withdraw As
                 Counsel For The Debtors (Doc. No. 467)

          All parties-in-interest should review the Courtroom Appearance procedures set

forth     at   http://www.flmb.uscourts.gov/judges/jennemann/ and                    the Court’s        Order

Establishing Procedures for Video Hearings (Doc. No. 468) entered in this Case.

          The hearing may be continued upon announcement made in open Court without further

notice.

Dated: November 8, 2021                                     /s/ Esther McKean
                                                            Esther McKean, Esquire
                                                            Florida Bar No. 028124
                                                            AKERMAN LLP
                                                            420 S. Orange Ave., Suite 1200
                                                            Orlando, FL 32801
                                                            Phone: (407) 423-4000
                                                            Fax: (407) 843-6610
                                                            Email: esther.mckean@akerman.com
                                                            Counsel for Reorganized Debtors



1
 The Debtors in these cases are: First Choice Healthcare Solutions, Inc., First Choice Medical Group of Brevard,
LLC, FCID Medical, Inc., and Marina Towers, LLC. The address of all the Debtors is 709 S. Harbor City Blvd.,
Suite 530, Melbourne, FL 32901.


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of November, 2021, this Notice of Hearing was filed
and served through the Court’s CM/ECF system to those parties in interest receiving CM/ECF
notifications and I caused the foregoing document to be served by first class mail, postage
prepaid, on the following persons: Debtors c/o Lance Friedman, Chief Executive Officer, 709 S.
Harbor City Blvd., Suite 530, Melbourne, FL 32901 and to those parties shown on the attached
matrix. In addition, on November 8, 2021 this Notice of Hearing was served by e-mail to the
Board of the Debtors.

                                                    s/ Esther McKean
                                                    Esther A. McKean, Esquire




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